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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

___________________________________________




       JOHN STEVEN GARDNER, Jr.,
            Petitioner,                                       1:10-cv-610

               v.

       WILLIAM STEPHENS,
            Director, TDCJ.




___________________________________________

       SUPPLEMENTAL SIXTH AMENDMENT CLAIM PRESENTED PURSUANT TO
                 THE AUTHORITY OF SPEER/MENDOZA

       COMES NOW, Seth Kretzer, Court-Appointed supplemental counsel for Petitioner

Gardner, and presents a supplemental Ineffective Assistance of Counsel claim pursuant to the

authority of Mendoza v. Stephens, 783 F.3d 203 (5th Cir. 2015), and Speer v. Stephens, 781 F.3d

784, 787 (5th Cir. Mar. 30, 2015).

                                         INTRODUCTION

       On August 13, 2015, this Court granted Gardner’s motion for supplemental counsel.

(Doc. No. 74). After review of the complete casefile, Counsel presents the following additional

argument: “Mr. Gardner was denied his Sixth and Fourteenth Amendment rights to effective

assistance of counsel when his trial lawyers failed to get the work product of their recalcitrant

mitigation specialist, Shelli Schade.”




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       Deficient Performance By Trial Counsel

       With regards to Strickland’s first prong (deficient performance), both the trial lawyers

and their expert, Dr. Kessner, stated in their affidavits that Ms. Schade had developed “an overly

close” relationship with Gardner’s family, especially his sister, Elaine. Standing alone, this

vaporous social relationship would not have any legal significance. But the trial counsels also

testified that, “Shelli Schade refused to share notes from her mitigation investigation and refused

to summarize her findings in a report to the attorneys.” This is significant because Dr. Kessner

testified in her affidavit that she was “concerned that there were important corroborating

witnesses who were not being located and interviewed for mitigation” and “Ms. Schade did not

provide me with notes from any interviews she conducted.”

       In sum, trial counsel proceeded with an expert (Dr. Kessner) who they knew to have been

provided far less than the complete data set available. Moreover, Dr. Kessner had voiced

concern about this exact issue. Although Dr. Kessner was not ultimately called to testify at trial,

the decision to call her (or not) was necessarily affected by the truncated information made

available to her but which the trial lawyers could have easily made complete by getting the files

Ms. Scade refused to provide.

       Martinez/Trevino: Deficient Performance By State Habeas Counsel

       With regards to ineffective assistance of state habeas counsel as cause-and-prejudice for

the default, it is most salient that Gardner’s state writ presented five discreet IAC contentions

about the trial lawyers. Much of the information presented in the preceding paragraph was

presented in Claims 3 (IAC for failure to adequately investigate and develop mitigating

evidence) and 4 (IAC because trial counsel failed to adequately present crucial mitigating

evidence) (emphasis in original). Gardner submits that his state habeas lawyer’s performance



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was nevertheless deficient because Claims 3 and 4 (while in and of themselves correct) self-

imposed a higher hurdle than Gardner needed to clear.

        Specifically, the issue was not the failure to adequately investigate (a pure Wiggins

situation), because that investigation had been done. Rather, the issue was the failure to obtain

work product from Ms. Schade created as part of that investigation. In the initial federal writ,

Ms. Brandt comes close to making a similar point when she wrote, “trial counsel’s performance

was constitutionally ineffective because they failed to closely supervise and monitor the work of

Ms. Schade, for whose work they were responsible.” (Doc. No. 17, p. 106). “The mitigation

investigation was woefully inadequate.” Id. at p. 108. “The decisions of trial counsel are owed

no deference because they were made after less than complete investigation.” Id. at 121.

        Yet, none of these statements is completely accurate, because by their own admission the

trial lawyers did supervise and monitor Ms. Sshade’s work; this parameter is anchored in their

testimonies that they knew Ms. Schade had not disclosed certain information. To the contrary,

the constitutional ineffectiveness redounds to the fact that the trial lawyers did not use tools at

their disposal to pry this information from Ms. Schade’s hands. In other words, the mitigating

evidence was in the possession of the defense team, it just did not make it to the hands of the trial

lawyers (where it would have been distributed to experts like Dr. Kessner) because of their

professionally unreasonable decision not to countermand Ms. Schade’s misconduct.

I.      INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

        A.       LEGAL STANDARDS FOR A MARTINEZ/TREVINO CLAIM

        The Fifth Circuit has recently clarified the legal standards for the ineffectiveness of state

habeas to predicate cause-and-prejudice for procedural default of an IAC claim on the part of

trial counsel:



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        In Martinez v. Ryan, 132 S.Ct. 1309, 1320, 182 L.Ed.2d 272 (2012), the Supreme Court
        concluded that ineffective assistance by a state habeas attorney may amount to cause
        where state procedural law requires that an ineffective assistance of trial counsel claim be
        raised in an initial state habeas application. The Supreme Court extended Martinez in
        Trevino v. Thaler, 133 S.Ct. 1911, 185 L.Ed.2d 1044 (2013), to cases in Texas, where
        state law—on its face—permits an ineffective assistance of trial counsel claim to be
        raised on direct appeal, but in effect makes it virtually impossible to do so. To meet
        Martinez’s “cause” exception, the applicant must show that the representation provided
        by his state habeas counsel fell below the standards established in Strickland and that his
        underlying ineffective assistance of trial counsel claim “is a substantial one, which is to
        say ... that the claim has some merit.” Martinez, 132 S.Ct. at 1318.

Allen v. Stephens, 805 F.3d 617, 626 (5th Cir. 2015).

        B.      Numerous Observations of Ms. Schade’s Non-Disclosure of Work Product
                Materials

                1.      Trial Lawyer’s Joint Affidavit

        Gardner submits that the ineffectiveness of his trial lawyers is established by the joint

affidavit they filed in response to his state writ:

        Shelli Schade refused to share notes from her mitigation investigation and refused to
        summarize her findings in a report to the attorneys. She was overly concerned with what
        could be discoverable by the State and despite the attorneys’ reassurance that it would not
        be discoverable, she refused to put together a report of any form for use by the
        investigator and the trial team.

Exhibit “A”, p. 7.

        Both attorneys agree with Dr. Gilda Kessner’s assessment of Shelli Schade’s work that
        she ‘developed an overly close relationship with the defendant and his family members,
        specifically his sister Elaine, and took on the role of counselor to them rather than a
        mitigation investigator.

Id. at p. 6.
                2.      Dr. Kessner’s Affidavit

        As indicated above, the trial lawyers’ affidavit quoted from Dr. Kessner’s affidavit. The

critical language is found in Paragraph 10:


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       I also had telephone conferences and in person conferences with the defense attorneys
       and various members of the defense team. I voiced my concern that there were important
       corroborating witnesses who were not being located and interviewed for mitigation. Ms.
       Shelli Schade the social worker hired by the attorneys for the mitigation investigation
       indicated that people in small towns would not be willing to reveal information and
       therefore corroborating information could not be obtained from them. The meeting with
       the defense team and Ms. Holifield proved to be difficult. Ms. Holifield kept looking to
       Ms. Schade before she would answer questions, at one point she became very tearful, and
       asked if she could just speak with Ms. Schade. I instructed Ms. Holifield that she was
       going to have to answer my questions without coaching by Ms. Schade. She stated that
       she was concerned if she spoke with anyone but Ms. Schade that the information could
       come out at trial. Ms. Schade appeared to have developed an overly close relationship
       with the defendant and his family members, such that she seemed to take on the role of
       counselor to them instead of mitigation investigator. Ms. Schade did not provide me with
       notes from any interviews she conducted. It was my impression that she did not provide
       summary notes to the attorneys either.

Exhibit “B”, p. 3-4.

               3.      Ms. Schade’s Affidavit

       Ms. Schade’s affidavit did not address the non-disclosure of work product, but it is

striking that there was personal animosity between Ms. Schade and the trial lawyers:

       Prior to Dr. Kessner and Dr. Allen’s testimony during the punishment phase of the trial,
       Mr. Gardner’s attorney, Bob Hulkrantz, stated that it was a trial team strategy not to put
       on consulted or testifying experts. This was a false statement as the entire defense team
       including Randi Ray, Dr. Kristi Compton and myself were not consulted and were not
       involved in the decision not to present this testimony. It was a decision made by Bob
       Hulkrantz and Bennie House in the hallway of the courthouse and not the entire defense
       team. As a matter of fact, Randi, Dr. Compton, and myself were very surprised when Mr.
       Hulkrantz made this statement in court considering both experts were in attendance in the
       courtroom that day prepared to testify in the punishment hearing.

Exhibit “C”, p. 1.

       C.      Argument and Analysis: Deficient Performance Is Established By The
               Reality That Schade’s Notes of Interviews Qualified As Unalloyed Attorney
               Fact Work Product

               1.      Ms. Scahde’s Notes Belonged to Gardner, Not Herself Anymore Than
                       They Did the Trial Lawyers


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          Gardner’s baseline proposition is the simple fact that work product (both fact and

opinion) belongs to the client. The Texas State Bar rules provide that a lawyer must “promptly

pay or deliver to the client as requested by a client, the funds, securities, or other properties in the

possession of the lawyer which the client is entitled to receive.” DR 9–102(B)(4).

          Both the Texas Bar and the Houston Court of Civil Appeals have held that this rule
          applies to documents in an attorney’s files. See Hebisen v. Texas, 615 S.W.2d 866, 868
          (Tex.Civ.App.—Houston 1981, no writ); Professional Ethics Committee, State Bar of
          Texas, Ethics Op. 395 (1980), reprinted at ABA/BNA Lawyer's Manual on Professional
          Conduct: Ethics Opinions 1980–1984 801:8301 (1984).

Resolution Trust Corp. v. H——, P.C., 128 F.R.D. 647, 648-50 (N.D. Tex. 1989) (Sanders, J.).

          The information contained in the attorney’s files belongs to the client. Such information
          includes material provided by the client; all correspondence; all pleadings, motions, other
          material filed in discovery, including depositions (and) all documents which have
          evidentiary value. “Papers and property” also includes photographs.

Meegan B. Nelson, Note, When Clients Become “Ex-Clients”: The Duties Owed After
Discharge, 26 J. LEGAL PROF. 233, 237 (2002) (quotations omitted).

          Gardner’s second argument rests in the simple reality that privilege extends to statements

made to investigators for a lawyer.     “Ingram also seems to argue that the communication was

not privileged because it was made to an investigator rather than an attorney. The investigator

was an agent for Ingram’s attorney, however, so it is as if the communication was to the

attorney himself.” United States v. McPartlin, 595 F.2d 1321, 1337 (7th Cir. 1979) (emphasis

added).


          Ms. Schade’s affidavit states that she is a “Licensed Master Social Worker”, but it is

unclear if there is a proper license and less formalized certification to qualify as a “Mitigation

Specialist.” For purposes of privilege, however, this is a distinction with no difference: “[t]he

fact that he is not a licensed professional is not outcome determinative. The standard is whether

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the third-party agent is supervised directly by an attorney and whether the communications were

intended to remain confidential.” Gucci America, Inc. v. Guess?, Inc., 271 F.R.D. 58, 72

(S.D.N.Y. 2010); “Notes of a prosecuting attorney or members of his or her staff ordinarily are

considered nondiscoverable work product because they are prepared in anticipation of litigation.”

23 Am. Jur. 2d Depositions and Discovery § 278 (emphasis added).


       In sum, there is no doubt that trial lawyers retain supervisory authority over a mitigation

specialist appointed by a criminal state trial judge for that exact purpose. Applying these legal

principles to the facts presented in Gardener’s case, it necessarily follows that any statements

gathered by Ms. Schade were every bit as protected under work-product privilege doctrine as

they would have been if Mr. Hulkrantz or Mr. House had taken these statements themselves.


               2.      It Was Professionally Unreasonable For The Trial Team Not to
                       Demand Ms. Schade’s Documents
       Gardner is not asking this Court to make a determination as to whether or not Ms.

Schade’s stated concern that if she disclosed her notes to the trial team that the State would be

able to discover them was right or wrong. Assume for sake of argument that Ms. Schade was

correct and the state could have filed a motion to force the defense lawyers to produce these

documents; this hardly means that the state judge would have granted such a motion. Moreover,

how would the state know (unless Ms. Schade went and told them) that such documents existed

in the first place? Whatever the answer to these varied hypothetical questions, the point is that

these are risks for the trial lawyers to consider, not a social worker.

       By contrast, Gardner is asking this Court to determine that it was professionally

unreasonable for the trial lawyers to lay supine while Ms. Schade shirked her job duties. First, it

is a given that the trial lawyers ordered her to produce these documents to them; their affidavit is


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clear, “despite the attorneys’ reassurance that it would not be discoverable, she refused to put

together a report of any form for use by the investigator and the trial team.” Second, if Ms.

Schade continued to refuse to produce these documents, the trial lawyers should have requested

an ex parte hearing with the presiding judge. It is hard to see a situation in which a trial judge

would permit an expert to refuse to hand over documents she had been paid with public funds to

create.

          Furthermore, on the subject of compensation, Gardner’s opening writ filed in this Court

argued that “the billing records of Ms. Schade, the trial mitigation specialist, was inadequate.”

Doc. No. 17, p. 105. For present purposes, the point is simply that Ms. Schade was in fact paid

for her services. But before a court will pay a voucher for expert services, the trial lawyer must

sign an affirmation that services have been rendered. If Ms. Schade insisted that she would not

hand over the documents, the trial lawyer’s simplest response would have been to decline to

submit a signed voucher.

          Gardner adduces the following line of cases in support of his contention of deficient

performance: Goodman v. Bertrand, 467 F.3d 1022, 1029 (7th Cir. 2006) (holding that trial

counsel was ineffective for failing to call witness who counsel knew could present evidence that

client was not the person who committed the crime, and stating that such could not be considered

a tactical decision.); Mathews v. Abramajtys, 319 F.3d 780 (6th Cir. 2003) (upholding district

court’s grant of writ of habeas corpus, focusing on trial counsels failure to present potential alibi

witness); Pavel v. Hollins, 261 F.3d 210 (2nd Cir. 2001) (holding that trial counsel’s decision not

to call two important fact witnesses could not be seen as plausible strategic decision making or

adequate pretrial investigation where counsel knew they would provide useful non-cumulative

trial testimony).


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       Synthesizing these cases, Gardner submits that the question becomes, ‘What strategic or

tactical reason did the trial lawyers have for neglecting to make Ms. Schade produce her file after

she refused to do so in response to their request for same because this non-lawyer/social worker

self-proclaimed a false legal premise that she would thereby trigger a reciprocal discovery

obligation?’ Since the answer is “there was no such strategic or tactical reason”, Gardner has

carried his burden on the first prong of Strickland.

       D.      Strickland’s Second Prong: Prejudice Analysis

       Dr. Kessler’s affidavit was clear:

       I believe I had scant information for the development of a coherent mitigation theme due
       to the absence of detailed and corroborated information about Mr. Gardner’s background.
       There was an abundance of information from Mr. Gardner but without corroborating
       witnesses my ability to present mitigation information to the jury was necessarily very
       limited.

Exhibit “B” p. 4; ¶12.

       Why was Dr. Kessler’s information limited? Because the trial lawyers took no effort to

pry it from Ms. Schade’s file.

       Denying a § 3599(f) funding request in the context of a Martinez/Trevino claim, the Fifth

Circuit recently held that investigation into what family member witnesses would have said had

they been called supported a finding of prejudice under the second prong of Strickland, but

denied relief because the trial lawyers were found not to have performed deficiently because they

had not had prior indication that these witnesses would not voluntarily attend:

       Allen seeks to investigate the testimony his family members would have given if they had
       been subpoenaed. This testimony might possibly lend support to Allen’s prejudice
       argument,…

Allen v. Stephens, 805 F.3d 617, 638 (5th Cir. 2015) (emphasis added).


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          Gardner submits that Allen gives succor to Gardner’s prejudice argument for very similar

reasons as it did on the facts presented in that case. The core issue in Allen trained on the fact

that a social worker (Bettina Wright) testified about abuse family members afflicted on Allen,

but without corroborating testimony from the absent family members, the jury was left to wonder

if Allen had told this social worker the truth. Indeed, the jury sent out three jury notes

specifically inquiring about whether or not Wright had actually spoken to family members. The

Court held that, “Allen makes a plausible argument that further corroborating testimony could

have been dispositive, pointing out that multiple jury notes during the sentencing phase

deliberation indicate that the jury was not only interested in, but also divided on, the reliability of

Wright’s testimony and the possible statements of Allen’s family members upon which Wright

had relied.” Id. at 637, n.4 (emphasis added).

          By contrast, in Gardner’s case, the issue is not what uncalled witnesses would have said,

but rather whether or not the trial outcome was affected by the trial lawyers’ decision not to take

simple and costless (but necessary) steps to get documents they knew they needed and had

actually asked for from their mitigation specialist. Gardner submits that the answer is

necessarily “yes” because had this data been handed over to the trial lawyers, they would have

passed it on to (potentially) testifying experts who would have then used it to inform and buttress

their opinions. More fully informed opinions would have necessarily affected the trial lawyers’

decision on whether or not to call experts like Dr. Kessner.

          E.     Conclusion

          Martinez requires that the underlying IATC “claim has some merit.” Martinez, 132 S.Ct.

at 1318. Gardner respectfully submits that he has shown far more than a mere shadow of “some

merit.”


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       There is no professional justification for the trial lawyers to have signed a voucher for an

expert who refused to turn over the work she was being paid to produce. Gardner was prejudiced

because Dr. Kessner’s analysis, and corresponding potential testimony, was necessarily

circumscribed by the limited data furnished to her. The deus ex machina is that this data was

sitting in Ms. Schade’s briefcase and it was the sole fault of trial counsel that it did not make it

onto Dr. Kessner’s desk.

II.    Martinez/Trevino IAC As Cause For Procedural Default

       Having established that trial counsel performed deficiently and Gardner was harmed in

the Strickland framework, the next issue becomes whether or not Gardner’s situation qualifies

for the Martinez/Trevino mechanism to excuse the default. For methodological convenience,

Gardner will address the familiar Strickland elements in reverse order.

       1.      Harm/Prejudice Analysis

       Had the failure of trial counsel to get the documents at issue from Ms. Schade’s files been

properly presented to the state habeas court, there is simply no way the FFCL would have

reached the same conclusions. For example, Paragraph 64 concludes:

       Counsel thoroughly investigated and prepared for Applicant’s trial, including traveling to
       Mississippi to interview witnesses and hiring a mitigation expert, a private investigator,
       and two mental health experts to assist with the case.

FFCL; p. 11.

       There can be no doubt that the term “hiring a mitigation expert” does not stand without

some qualification, as Ms. Schade clearly had acrimony with trial counsel and (more impactful)

refused to give her file over when it was requested. This difference is also demonstrated in

Paragraph 67: “Counsel believed that their mitigation expert, Shelli Schade, was ‘over close’



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with Applicant and his family, but they did not believe that their investigation was impaired.”

Id. at p. 11. We know this is untrue, since the trial lawyers specifically testified, “despite the

attorneys’ reassurance that it would not be discoverable, she refused to put together a report of

any form for use by the investigator and the trial team.” In other words, the “impairment” is a

given since the trial lawyers did not have access to information Ms. Schade would not release

from her control.

       Paragraph 32 concludes:

       Dr. Kessner’s theory adds psychological context to but does not contradict the State’s
       theory that Applicant felt he had lost control of the relationship and killed Tammy to
       present her from finalizing the divorce.

       The crux of Gardner’s Martinez/Trevino claim is that a vicious feedback loop was put in

motion when the trial lawyers neglected to get documents they had requested and were entitled

to. What the habeas judge called “context” would necessarily have been developed into

something more had the complete file been provided to Dr. Kessner for her to analyze and

incorporate into her potential testimony.

       2.      Deficient Performance of State Habeas Counsel

       To be sure, there is substantial overlap between Garden’s Martinez/Trevino claim and the

nucleus of IATC claims presented both in state habeas and in the opening writ. The problem is

that state habeas counsel presented a pure Wiggins claim that reduced to the argument ‘trial

counsel should have investigated further.’ At that level of abstraction, relief was denied because

trial counsels were afforded a wide latitude of professional judgment. But when the issue

becomes failure to pry documents from a court-appointed expert who would not be paid until

those trial lawyers signed the expert’s voucher, that latitude narrows considerably.



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III.   CONCLUSION

       Trial counsel did not need another trip back to Mississippi to gather evidence in order to

be Wiggins-compliant. What was needed was a simple impetus for Ms. Schade to give over the

documents she had been paid to create. It would not have taken much effort for this to happen;

refusal to sign off on her voucher would likely have done the trick, but if that did not work a

simple ex parte motion to the judge would surely have done so. Trial counsel cannot hide behind

the mitigation specialist’s (a non-lawyer) erroneous but self-proclaimed legal conclusion that

disclosure would have made her files subject to discovery by the prosecution. Gardner satisfied

both Strickland elements at the level of both his trial lawyers and his state habeas lawyer.

                                                             Respectfully submitted,

                                                             /s/ Seth Kretzer

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                                    CERTIFICATE OF SERVICE
       I certify foregoing brief was served on all counsel of record through the ECF system on

December 14, 2015.

       I also certify that I mailed a paper copy to Mr. Gardner at the Polunsky Unit.



                                              _______________________
                                              Seth H. Kretzer

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